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21                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
22

23   IN RE: ROUNDUP PRODUCTS                      MDL No. 2741
     LIABILITY LITIGATION
24                                                Case No. 3:16-md-02741-VC

25
     This document relates to:
26   ALL ACTIONS
27
                            JOINT CASE MANAGEMENT STATEMENT
28
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 1          The parties jointly submit this Joint Case Management Statement in anticipation of the

 2   December 5, 2018 Case Management Conference.

 3   I. GROUP 1 DISCOVERY.

 4          a.      General Discovery.

 5   Plaintiffs’ Statement

 6          On November 2, 2018, the Parties reached an agreement on supplemental document

 7   production from Monsanto, which is slated to complete by January 15, 2019. Those productions

 8   are being made on a rolling basis. On November 9, 2018, Plaintiffs served Monsanto with 23

 9   interrogatories, 171 requests for admission, a Rule 30(b)(6) deposition notice (containing 26

10   topics), deposition notices for current Monsanto employees Michael Koch, Sam Murphy, and

11   Todd Rands, and a deposition notice for Monsanto’s former Chief Executive Officer, Hugh

12   Grant (left Monsanto after Bayer’s acquisition in June 2018). Additionally, Plaintiffs served

13   third-party subpoenas (seeking documents and testimony) on CropLife America, FTI Consulting,

14   Wilbur-Ellis, and Gary Williams (November 15, 2018) and Larry Kier (November 20, 2018).

15   Plaintiffs are also attempting to serve of third-party subpoenas on Wallace Hayes and Roger

16   McClellan and intend to effectuate service soon.

17                  i. Monsanto Written Discovery. Monsanto’s responses to Plaintiffs’ written

18                     discovery are due by December 10, 2018. The Parties are hopeful that Court

19                     intervention will not be required for these discovery responses.

20                 ii. Monsanto Depositions. Monsanto has agreed to produce Messrs. Koch,

21                     Murphy, and Rands for deposition. Although the depositions were originally

22                     noticed for mid-December, before the discovery cutoff of December 20, 2018,

23                     the Parties would like to have these depositions completed in January,

24                     provided the Court allows it. Additionally, the Parties are currently

25                     negotiating the scope of the Rule 30(b)(6) deposition and request leave that

26                     the deposition take place in January as well. Regarding Mr. Grant, today,

27                     Monsanto has agreed to accept service of the subpoena. It is also unclear

28                     whether Monsanto and/or Mr. Grant will object to his deposition.
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 1                 iii. Third-Party Subpoenas. Of the served subpoenas, as of this writing,

 2                       Plaintiffs have only received responses from CropLife America (objections)

 3                       and Wilbur-Ellis (granted two-week extension). FTI Consulting and Gary

 4                       Williams have not timely responded to the subpoenas. All third-party

 5                       depositions are currently noticed to occur in January, but Plaintiffs will work

 6                       with the third-parties and Monsanto to coordinate the completion of these

 7                       depositions prior to the first trial.

 8   Monsanto’s Statement

 9          No issues have been identified for Court resolution. Monsanto will provide responses to

10   the written discovery described above by the due date. The parties have agreed to conduct the

11   noticed depositions of Rands, Koch, Murphy, and the 30(b)(6) in January, subject to objections.

12          b.      Hardeman Case.

13                  1.       Discovery Responses, in general.

14   Plaintiffs’ Statement

15          On November 16, 2018, Monsanto served “Monsanto Company’s Responses and

16   Objections to Plaintiff’s Amended Fifth Set of Discovery to Monsanto.” Several of the

17   Responses contained inappropriate objections and/or were insufficient. The Parties have met and

18   conferred several times regarding Monsanto’s Responses. During a meet and confer on

19   November 28, 2018, Monsanto’s lawyer stated that several responses would be amended or

20   supplemented, but then stated that he did not have authority from his client to tell me the changes

21   or when Mr. Hardeman would receive the amendments/supplements. Given the February 25 trial

22   date, Mr. Hardeman requests judicial assistance for any disputes related to this discovery that

23   remain unresolved as of the December 5 Case Management Conference. Attached as Exhibit 1

24   is a copy of Monsanto’s Discovery Responses.

25   Monsanto’s Statement

26          The parties have had two meet and confers over the written discovery, most recently on

27   November 28, at which Monsanto identified multiple specific responses that would be amended

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 1   and how they would be amended. Monsanto informed plaintiffs’ counsel that it would serve

 2   supplemental responses the week of December 3, and certainly by December 7.

 3          The majority of the written discovery responses either are not in dispute or will be

 4   amended.    Based on the meet-and-confers, Monsanto believes the remaining issues are as

 5   follows:

 6          Interrogatories

 7   IR 1 & 2 – no remaining disputes

 8   IR 3 – Pls has asked for supplementation if anything has changed; Monsanto is investigating and

 9   will supplement if warranted.

10   IR 4 – Pls agreed during meet and confer that Monsanto need not list deponents and document

11   custodians in the litigation, because these are already known to them.

12   IR 5 – no remaining disputes

13   IR 6 - Pls agreed during meet and confer that Monsanto need not list deponents and document

14   custodians in the litigation, because these are already known to them.

15   IR 7 – Monsanto will supplement to indicate that there are no non-privileged/non-work-product

16   statements responsive to the requests; this resolves the dispute.

17   IR 8 – no remaining disputes

18   IR 9-14 – These are contention interrogatories regarding various causation issues. Monsanto will

19   amend to refer plaintiffs to its expert reports, plaintiffs’ and treaters’ deposition testimony, and

20   the medical records.

21   IR 15 – This is a contention interrogatories regarding an affirmative defense. Monsanto will

22   amend its response.

23   IR 16 – This is a contention interrogatory regarding Mr. Hardeman’s level of exposure.

24   Monsanto will amend to refer plaintiffs to its expert reports, plaintiffs’ and treaters’ deposition

25   testimony, and the medical records..

26   IR 17 – This is a contention interrogatory regarding a paragraph of Monsanto’s Answer, in which

27   Monsanto denied an allegation of the Complaint that Monsanto made no advertising changes

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 1   following a negotiated resolution of a dispute with the NY Attorney General in 1996. Monsanto

 2   stands by its response to this interrogatory. The NY dispute decades ago is irrelevant to this case.

 3   IR 18 – This is a contention interrogatory regarding multiple affirmative defenses. Monsanto

 4   will amend its response.

 5   IR 19-23 – These are the subject of the next section of the case management statement.

 6   IR 24 – no remaining dispute.

 7   IR 25-28 – These are contention interrogatories regarding regulatory decisions by the US EPA.

 8   Monsanto will amend its responses.

 9   IR 29-32 – These interrogatories relate to matters discussed at the last CMC (formulations,

10   advertising, etc.), for which Monsanto has made responses and produced documents as directed

11   by the Court.

12   IR 33 – no remaining dispute.

13          Requests for Admission

14   Monsanto will supplement RFAs 1-6, 12 and 13, as explained at the most recent meet-and-

15   confer. Monsanto believes that this will resolve all disputes as to the RFAs.

16          Requests for Production

17   RFPs – multiple RFPs were withdrawn by agreement: 1, 3, 4, 5, 6, 9.

18   RFP 2 requests documents pertaining to foreign regulatory approvals, and is addressed in the

19   next section of this Case Management Statement.

20   RFPs 7, 10, 12, 13 – documents to be produced by Jan. 15; no remaining dispute.

21   RFP 8, 11 – requests documents relating to matters discussed at the last CMC (formulations,

22   advertising, etc.), for which Monsanto has made responses and produced documents as directed

23   by the Court.

24                   2.      Worldwide Regulations on Glyphosate and/or Roundup.

25   Plaintiffs’ Statement

26          The Parties have reached an impasse with respect to this discovery on this matter.

27   Throughout the course of the litigation, Monsanto has repeatedly asserted the defense that

28   “regulators world wide” have found glyphosate and/or Roundup to be safe and not carcinogenic.
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 1   See Exhibit 1, Interrogatories Nos. 19-23 & 25-28 1.          Specifically, for each governmental

 2   regulation that Monsanto claims is evidence that glyphosate or Roundup is (1) safe and/or (2)

 3   non-carcinogenic, Plaintiff requests the following information:

 4              1. The regulating body or geographic location;

 5              2. The date(s) or time period of the regulation;

 6              3. Monsanto’s characterization of the regulatory body’s findings (i.e., whether the

 7              regulation was a finding of safety, an equivocal finding, or one demonstrating

 8              carcinogenicity, etc.);

 9              4. Whether the regulation pertained to glyphosate or glyphosate formulations (i.e.,

10              Roundup);

11              5. General description of Monsanto’s role in that particular regulation process (i.e.,

12              did Monsanto provide information to or studies to the governmental entity? And if so,

13              who provided the information?); and

14              6. The identity of each Monsanto office and/or person that interacted with each

15              regulatory body at issue.

16          Additionally, for each regulation identified, Mr. Hardeman requests communication

17   between Monsanto and the regulatory body. In response, Monsanto proffered vague objections

18   with respect to burden and foreign privacy laws. This Court has already denied such objections,

19   noting “that a blanket declaration that disclosure "implicates European privacy laws" is

20   insufficient. See, e.g., Buck Decl. (Dkt No. 166-1) at 3. Pretrial Order No. 15, ECF Dkt. No.

21   186, March 13, 2017. What is more, the protective order in effect, to the extent it is appropriately

22   invoked for such documents, would resolve the issue.

23          If Monsanto intends to use governmental regulations as a defense in this case, Mr.

24   Hardeman should be able to know—with particularity—which particular regulatory findings

25   Monsanto is relying upon and receive basic discovery on same. If Monsanto refuses to produce

26   the requested information, the Court should preclude Monsanto from proffering any evidence of

27   1
      In an act of compromise, Mr. Hardeman agreed to withdraw Interrogatory No. 24 without
     prejudice.
28
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 1   governmental findings or statements that glyphosate/Roundup is safe and/or non-carcinogenic,

 2   alternatively, if Monsanto does not intend to claim governmental regulations as a defense of

 3   glyphosate/Roundup’s safety and non-carcinogenicity, Mr. Hardeman will withdraw these

 4   requests.

 5   Monsanto’s Statement

 6          Plaintiffs misstate Monsanto’s position. Monsanto has pointed out that national and

 7   international regulators have not reached the same conclusions about carcinogenicity as IARC,

 8   and has identified particular ones which have conducted comprehensive scientific reviews

 9   (including reviews postdating IARC’s and taking it into account) rejecting the IARC findings.

10   For example, in the Johnson case, Monsanto filed a motion for judicial notice to be taken of a

11   number of specific regulatory findings, which were identified, attached, and briefed by both

12   sides. Monsanto has offered these to demonstrate, among other things, its own good faith in

13   conducting its glyphosate business, with repeated scientific reviews from those scientific bodies

14   confirming its own views about the safety of its products. Plaintiffs have long known precisely

15   which regulators and regulatory findings are relied upon for this purpose.

16          Plaintiffs now request something different: a list of all regulators worldwide,

17   identification of their findings with dates, and various characterizations about those findings.

18   Monsanto knows of no national or international regulatory body that has found that glyphosate is

19   carcinogenic in humans, but it would be unduly burdensome to identify all regulatory findings

20   for the more than 100 countries that have approved glyphosate-based herbicides for sale,

21   including reregistrations (which take place periodically in the regulatory regimes identified

22   above) and characterize each of those findings.

23          Monsanto has undertaken to provide a list of the countries in which its glyphosate-based

24   herbicides have been approved, the names of the regulatory agencies involved in those

25   approvals, and the Monsanto liaisons with those agencies. Monsanto has also undertaken to

26   produce documents from its email vault to or from those agencies and liaisons that are

27   responsive to various search terms to be identified by negotiation with the parties.        This

28   production would be completed by the January 15 date that has been negotiated between the
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 1   parties for such productions to take place. This is an ambitious discovery project, particularly

 2   given the time constraints.

 3            c. Stevick Case.

 4   Plaintiffs’ Statement

 5           Counsel for Ms. Stevick and Monsanto are working on resolving discovery issues and if

 6   not resolved before the CMC, counsel for Ms. Stevick intends to bring these issues before the

 7   court at the CMC.

 8   Monsanto’s Statement

 9           Counsel for Ms. Stevick initially raised objections to discovery responses on

10   November 28, and Monsanto will respond. Monsanto notes that many of the objections were

11   virtually identical to objections that had already been raised, discussed, and resolved in a meet-

12   and-confer not attended by counsel for Ms. Stevick. Monsanto submits that one point of MDL

13   coordination is to avoid re-arguing discovery issues with each lawyer who has served discovery.

14   Ms. Stevick is represented by the Miller Firm, which sits (through Mr. Miller) on the executive

15   committee.

16   II. Expert Deposition Dates – Monsanto’s Experts.

17   Plaintiffs’ Statement

18           Group 1 expert discovery must be completed by December 20, 2018. See, Pretrial Order

19   No. 53 (ECF Docket No. 1926). Even so, Monsanto refuses to provide deposition availability

20   for almost 50% of its experts prior to the December 20, 2018 deadline. Remarkably, for one

21   expert, Monsanto provided availability only after the commencement of Daubert briefing. In

22   support of its refusal, Monsanto’s attorneys cite Pretrial Order No. 7, Para III.C.2. However, as

23   clearly set forth in the first paragraph of Pretrial Order No. 7, that deposition protocol related

24   only to the general-causation phase, a phase far in our rear view mirror. What’s more, as of

25   today, only fourteen (14) business days remain to conduct eighteen (18) expert depositions of

26   Monsanto’s Group 1 case specific experts, plus produce Plaintiffs’ Group 1 experts 2.

27   2
       Group 1 Plaintiffs designated Dr. Benbrook and offered December 4, 2018 for deposition. Later, Plaintiffs also
     offered December 3, 2018. Monsanto countered, requesting December 21 or 28, 2018. Of those two days requested
28                                                                                                  (Footnote continued)
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 1           Group 1 Plaintiffs respectfully request the Court Order Monsanto to provide availability

 2   for their Group 1 experts within the Pretrial Order 53 deadlines, or allow Plaintiffs to unilaterally

 3   notice the depositions. Given the extreme press of time to complete expert discovery, Group 1

 4   Plaintiffs do not believe this dispute can wait until the December 5, 2018 Case Management

 5   Conference and therefore filed a discovery letter on November 30, 2018 regarding discovery of

 6   Monsanto’s experts.

 7   Monsanto’s Statement

 8           Monsanto has been trying to schedule depositions of plaintiffs’ and its own expert

 9   witnesses so that plaintiffs’ expert depositions in each subject-matter category are complete

10   before Monsanto’s experts in that same area are deposed, as was done in CMO 7 for general

11   causation experts. The same rationale—i.e., that Monsanto’s experts must in part respond to the

12   positions taken by plaintiffs’—applies. Plaintiffs have insisted that all discovery be completed

13   by the deadline of December 20 while also offering dates in the end of the discovery period that

14   include the last day of the discovery period, making it impossible for their experts in each

15   category to be deposed before Monsanto’s experts. Monsanto is willing to extend the expert

16   discovery period, if necessary, to the extent possible to enable its experts to have an opportunity

17   to react and respond to the positions taken by plaintiffs’ experts in the same areas.

18   III.   GROUP 1 DAUBERT HEARING.

19   Plaintiffs’ Statement

20           Pursuant to Pretrial Order No. 53, the Court scheduled a Daubert evidentiary hearing

21   (expert testimony) for February 4, 6, and 11, 2019.              At this time, Group 1 Plaintiffs do not

22   anticipate bringing their experts for live Daubert testimony during that hearing. However, if the

23   Court intends to order live testimony from the Group 1 experts, Group 1 Plaintiffs request further

24   guidance on the parameters of the Daubert hearing.

25

26

27   by Monsanto, Dr. Benbrook was only available on December 28 2018, so Plaintiffs reluctantly agreed to Monsanto’s
     counter.
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 1   Monsanto’s Statement

 2             Plaintiffs requested Monsanto’s consent to an agreement that there be no live witnesses at

 3   the February 2019 Daubert hearing. Monsanto declined, saying that it believed live witnesses

 4   were valuable and that it wanted to cross-examine plaintiffs’ witnesses in front of the Court.

 5   This remains Monsanto’s position.

 6   IV. JURY SELECTION BRIEFS.

 7   Statement of Plaintiffs and Monsanto

 8             Pursuant to Pretrial Order No. 54, on November 30, 2018, the parties filed briefs on: (1)

 9   jury selection and whether exposure to news about the litigation against Monsanto should

10   disqualify a prospective juror; and (2) proposed questions for the jury questionnaire. Counsel

11   will be prepared to discuss this topic with the Court during the December 5, 2018 conference.

12   V. EMANUEL GIGLIO V. MONSANTO – PREFERENTIAL TRIAL DATE.

13   Plaintiff’s Statement

14             Mr. Giglio is dying. In fact, his treating oncologist submitted sworn testimony that “Mr.

15   Giglio has substantially less than 6 months left to live as a result of the recurrence of his Stage

16   IV Diffuse Large B-Cell Non-Hodgkin’s Lymphoma.” See, Redfern Declaration, Para. 11, ECF

17   Docket No. 2185-4. For this reason, on November 16, 2018, undersigned counsel filed a Motion

18   for Trial Preference and/or Trial Remand so Mr. Giglio can receive his day in Court before he

19   dies. 3

20       Mr. Giglio filed his lawsuit against Monsanto in the United States District Court for the

21   Southern District of California on October 9, 2015. Upon best information, Mr. Giglio’s case is

22   the second oldest case in this multidistrict litigation – meaning that there is only one individual

23   who has waited longer that Mr. Giglio for their day in Court against Monsanto. Further delay of

24   his trial is extremely prejudicial, as his estate will lose its right to recover damages for Mr.

25   Giglio’s considerable pain and suffering should he pass away before trial. See Cal. Civ. Proc.

26   Code § 377.34 (West) (“In an action or proceeding by a decedent's personal representative or

27   3
       Mr. Giglio incorporates that Motion as if fully set forth herein and his counsel will be prepared
     to discuss this matter with the Court during the December 5, 2018 hearing.
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 1   successor in interest on the decedent's cause of action, the damages recoverable are limited to the

 2   loss or damage that the decedent sustained or incurred before death, including any penalties or

 3   punitive or exemplary damages that the decedent would have been entitled to recover had the

 4   decedent lived, and do not include damages for pain, suffering, or disfigurement”).

 5      Mr. Giglio has been doing everything in his power to facilitate a prompt trial. He served his

 6   Plaintiff Fact Sheet on November 28, 2018 and also provided Monsanto with HIPPA releases

 7   and all medical records in his possession. Mr. Giglio is available for deposition any day between

 8   December 26, 2018 and January 4, 2019. Upon best information, Mr. Giglio’s treating doctor is

 9   available for deposition January 9,2019. Mr. Giglio will use the MDL general causation experts

10   and can be ready to tender case specific expert reports in mid-January 2019 at the latest. Given

11   his 6-month life expectancy, and the length of trial, Mr. Giglio respectfully requests the earliest

12   practicable trial date, realistically early March 2019, either in the Northern or Southern District

13   of California.

14   Monsanto’s Statement

15          Pursuant to Pretrial Order No. 54, the parties have filed briefs on Mr. Giglio’s motion for

16   a preferential trial setting. See ECF Docket No. 2185, 2212. Counsel will be prepared to discuss

17   this topic with the Court during the December 5, 2018 conference. As set forth in Monsanto’s

18   brief, the appropriate procedure to follow in federal court with regard to a party in Mr. Giglio’s

19   situation is a preservation deposition. The use of preferential settings in a federal MDL like this

20   one would substantially disrupt the Court’s ability to manage the litigation as a whole

21   appropriately.

22          Apart from the Giglio preferential setting motion, the parties have briefly discussed

23   establishing a procedure by which preservation depositions could be arranged for cases in the

24   MDL in which a plaintiff’s condition warrants it. Monsanto proposes that, in such cases:

25          (1) Counsel for that plaintiff will notify Monsanto of the situation as soon as possible;

26          (2) A deposition will be scheduled within two months, or sooner, if necessary;

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 1         (3) As soon as possible, and in no event later than four weeks before the scheduled

 2         deposition, the plaintiff in question will provide a complete PFS and all medical records

 3         to which they have access.

 4
     DATED: November 30, 2018                      Respectfully submitted,
 5

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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that, on this 30th day of November 2018, the foregoing Joint Case
 3   Management Statement was served on all parties of record by means of electronic filing via the
 4
     Electronic Case Filing (ECF) system.
 5

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